Case 3:1O-CV-Ol798-WWE Document 85 Filed 03/08/12 Page 1 of 1

Federal Rules of Appellate Procedure Form 1. Notice of Appeal to a Court of Appeals
From a Judgment or Order of a District Court.

United States District Court for the District of

Connecticut

File Numb@r 3:10~cv-01798-WWE

|Vlichael V. Gabrie|e
Plaintijj[,

\/\»/\./

Notiee of Appeal

)
Law Office of l\/lartha Croog, Et A| )
Defendant. )

Notice is hereby given that P'ai“t‘ff , (plaimiffs)

(defendants) in the above-named case*, hereby appeal to the United Stzltes Court of Appeals for

the 2nd Cireuit (froni the final judgment) (frorn an order (describing it)) entered in this
action en the 9“1 day of F€bfu@fy , §2012 .

/S/

J. Hanson Guest

Attorney for
Plaintiff

Address:

151 NeW Park Avenue, Hartford, CT 06106

 

*See Rule 3(0) for permissible Ways of identifying appellants

